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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                            Plaintiff,
                                                      23 Cr. 430 (KPF)
                     -v.-

ROMAN STORM and ROMAN                        REVISED SCHEDULING ORDER
SEMENOV,

                            Defendants.

KATHERINE POLK FAILLA, District Judge:

      As discussed at the parties’ conference with the Court in this matter on

July 12, 2024, the parties are directed to comply with the following trial

schedule:

      •      Trial will be set to begin on December 2, 2024, at 9:00 a.m.;

      •      The parties’ respective jury charge requests, proposed voir dire

             questions, and any motions in limine will be due November 4,

             2024;

      •      Any opposition papers to motions in limine will be due November

             11, 2024; and

      •      The final-pretrial conference will be scheduled for November 19,

             2024, at 11:00 a.m. in Courtroom 618 of the Thurgood Marshall

             Courthouse, 40 Foley Square, New York, New York.

      The Clerk of Court is directed to terminate the pending motion at docket

number 64.
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     SO ORDERED.

Dated:    July 15, 2024
          New York, New York             __________________________________
                                              KATHERINE POLK FAILLA
                                             United States District Judge




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